
WELLS, Judge.
W.M., a juvenile, appeals from a conviction for battery on a school employee, claiming the evidence of intent insufficient to survive his motion for judgment of dismissal. We reject this claim because the evidence presented below that W.M., who was late for class, pushed aside a teacher who was blocking a doorway to prevent his entry into a classroom, after repeatedly having been denied entry and told to report to the behavior management teacher’s office, was sufficient to survive his motion for dismissal on this charge. See S.D. v. State, 882 So.2d 447, 448 (Fla. 4th DCA 2004) (“Intent to commit a battery must be determined by the circumstances surrounding the touching or striking of the victim.”); see also Beasley v. State, 774 So.2d 649, 657 (Fla.2000) (confirming that on a motion for judgment of acquittal, all reasonable inferences that may be drawn from the evidence must be viewed in a light most favorable to the State); A.P.R. v. State, 894 So.2d 282, 284 (Fla. 5th DCA 2005) (confirming that the “standard of review that applies to a motion for judgment of dismissal in a juvenile case is the same standard that applies to a motion for judgment of acquittal in a criminal case”).
Affirmed.
